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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF
                                     SOUTHERN DIVISION
                                                    ¿
    UNITED STATES OF AMERICA                                CRIM. NO.
                                                    ¿
                                                            usAo No. 16R00376
                                                    *
    v.                                              *       VIOLATIONS:       21 USC $ 84
                                                    ¿

    RICHARD SNELLGROVEO M'D'                                                   | : tb -eeb-KÞ
                                                    tr
                                                    ¿

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                                              INDICTMENT

    THE GRAND JURY CHARGES:

                                               COUNT ONE

           On or about October 24,2011, in the Southern District of Alabama, Southern Division,

    the defendant,

                                    RTCHARD SNELLGROVE, M.D.

    did knowingly, intentionally, and unlawfully distribute and dispense, and cause to be distributed

    and dispensed, a mixture and substance containing a detectable amount of Methadone, a Schedule

                                                                                                   ooD.R.,
    II Controlled   Substance, to an individual known to the Grand Jury and identified herein as

    Jr." for no legitimate medical pu{pose and outside the usual course of professional practice.

           Specifically, an individual known to the Grand Jury and identified herein as'oM.R."

    directed his brother D.R., Jr. to go to SNELLGROVE's office and ask him for Methadone to

    send to M.R., who was not in the area at that   time.   M.R. was a patient with whom

    SNELLGROVE was friends and knew well. D.R., Jr. did            as he was directed   by M.R., and

    received a prescription from SNELLGROVE in D.R., Jr.'s name for 240 Methadone 10mg




                                                                                               SEALED
tablets. Despite writing the prescription in D.R., Jr.'s name, SNELLGROVE knew the

Methadone was intended for       M.R.   D.R., Jr. filled the prescription and then sent the methadone

to M.R. per his request.

         In violation of Title 21, United States Code, Section 8a1(a)(1).

                                             COUNT TWO

         On or about August 13,2015, in the Southern District of Alabama, Southern Division, the

defendant,

                                  RICHARD SNELLGROVE, M.D.

did knowingly, intentionally, and unlawfully distribute and dispense, and cause to be distributed

and dispensed, a mixture and substance containing a detectable amount of Hydrocodone, a

Schedule    II Controlled   Substance, to an individual known to the Grand Jury and identified herein

as   "M.R." for no legitimate medical purpose and outside the usual course of professional practice.

         Specifically, SNELLGROVE wrote a prescription for 75 Norco 1Omg tablets in the name

of M.R.'s father, whose identity is known to the Grand Jury and identified herein as "D.R., Sr."

D.R., Sr. was not one of SNELLGROVE's patients. SNELLGROVE knew the prescription

written in the name of D.R., Sr. was intended to be used by M.R.

         In violation of Title 21, United States Code, Section 841(aXl).

                                           COUNT THREE

         On or about August 13,2015, in the Southern District of Alabama, Southern Division, the

defendant,

                                  RICHARD SNELLGROVE, M.D.

did knowingly, intentionally, and unlawfully distribute and dispense, and cause to be distributed

and dispensed, a mixture and substance containing a detectable amount of Lorazepam, a Schedule




                                                                                            SEALED
IV Controlled     Substance, to an individual known to the Grand Jury and identified herein as

"M.R." for no legitimate medical purpose and outside the usual course of professional practice.

       Specifically, SNELLGROVE wrote a prescription for 30 doses of Ativan in the name of

M.R.'s father, whose identity is known to the Grand Jury and identified herein     as   "D.R., Sr."

D.R., Sr. was not one of SNELLGROVE's patients. SNELLGROVE knew the prescription

written in the name of D.R., Sr. was intended to be used by M.R.

       In violation of Title 2l,United States Code, Section 8a1(a)(1).

                                               COUNT FOUR

       On or about March 24,2016, in the Southem District of Alabama, Southern Division, the

defendant,

                                   RICHARD SNELLGROVE, M.D.

did knowingly, intentionally, and unlawfully distribute and dispense, and cause to be distributed

and dispensed, a mixture and substance containing a detectable amount of Fentanyl, a Schedule          II

Controlled Substance, to an individual known to the Grand Jury and identified herein as "J.R." for

no legitimate medical purpose and outside the usual course of professional practice.

       Specifically, an individual known to the Grand Jury and identified herein as "M.R." asked

his cousin J.R.   if it would   be ok   if SNELLGROVE wrote M.R. a prescription for fentanyl

patches in J.R.'s name since M.R.'s insurance would not cover the      prescription. J.R. agreed, and

SNELLGROVE wrote a prescription for 10 Fentanyl patches            at the 75mcglhour strength in the


name of   J.R. At the time      that he wrote this prescription, SNELLGROVE knew the Fentanyl

patches were for M.R., and not J.R.

       In violation of Title 21, United States Code, Section 8a1(a)(1).




                                                                                             SEALBD
                                         COUNT FIVE

       On or about April 18,2016, in the Southern District of Alabama, Southern Division, the

defendant,

                              RICHARD SNELLGROVE, M.D.

did knowingly, intentionally, and unlawfully distribute and dispense, and cause to be distributed

and dispensed, a mixture and substance containing a detectable amount of Fentanyl, a Schedule       II

Controlled Substance, to an individual known to the Grand Jury and identif,red herein as "J.R." for

no legitimate medical putpose and outside the usual course of professional practice.

       Specifically, SNELLGROVE wrote a prescription in J.R.'s name for 10 Fentanyl patches

at the 5Omcg/hour   strength. At the time the prescription was written, SNELLGROVE knew the

Fentanyl patches were not for J.R., but rather for an individual known to the Grand Jury and

identified herein as "M.R."

       In violation of Title 21, United States Code, Section 8a1(a)(1).

                                          COUNT SIX

       On or about August 18,2016, in the Southern District of Alabama, Southern Division, the

defendant,

                              RICHARD SNELLGROVE, M.D.

did knowingly, intentionally, and unlawfully distribute and dispense, and cause to be distributed

and dispensed, a mixture and substance containing a detectable amount of Fentanyl, a Schedule       II

Controlled Substance, to an individual known to the Grand Jury and identified herein as "M.R."

for no legitimate medical putpose and outside the usual course of professional practice.

       In violation of Title 21, United States Code, Section 8a1(a)(1).




                                                                                           SEALED
                                      A TRUE BILL




                                                    ATES GRAND JURY
                                                    OF ALABAMA




KENYEN R. BROWN
TINITED STATES ATTORNEY
By:




                 J. BODNAR
Assistant United States Attorney




  CKI     D
Assistant              Attorney
Chief, Criminal Division




                                   OCTOBER 2016




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